
36 So. 3d 930 (2010)
Willie MONROE, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-2892.
District Court of Appeal of Florida, Fourth District.
June 9, 2010.
Willie Monroe, Miami, pro se.
No response required for appellee.
PER CURIAM.
Affirmed. Appellant's sentence of thirty-five years in prison with ten years probation for second degree murder is not illegal, as the statutory maximum is thirty years to life. See §§ 782.04(2), 775.082(3)(b), Fla. Stat. (1997); see also Mills v. State, 642 So. 2d 15 (Fla. 4th DCA 1994) (affirming a fifty year sentence for second degree murder).
WARNER, DAMOORGIAN and LEVINE, JJ., concur.
